Case 2:99-cr-00012    Document 1249   Filed 09/07/12   Page 1 of 2 PageID #: 5062



                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT CHARLESTON

UNITED STATES OF AMERICA

v.                                        CRIMINAL NO. 2:99-00012-03

ERIC DEWAYNE SPENCER


                       MEMORANDUM OPINION AND ORDER

     Pending before the court is defendant's "motion to modify

fine based on defendant Spencer’s ability to pay."              (Doc. #

1211).   In his motion, defendant asks the court “to remove his

fine based on changed circumstances and an inability to pay.”

For the reasons discussed below, that motion is DENIED.

     18 U.S.C. § 3573 permits a court, upon motion of the

government, to remit all or part of an unpaid fine.               The statute

does not, however, permit a court to remit a fine upon motion of

the defendant.       See United States v. Benally, 2009 WL 1286014, *1

(D. Ariz. 2009); Manjarres v. United States, 2008 WL 842415

(D.R.I. 2008); United States v. Jupiter, 2001 WL 34790221, *1

(W.D. Va. 2001).      As such, the motion to remit must be denied.

     18 U.S.C. § 3572(d)(3) provides that

     A judgment for a fine which permits payments in
     installments shall include a requirement that the
     defendant will notify the court of any material change
     in the defendant's economic circumstances that might
     affect the defendant's ability to pay the fine. Upon
     receipt of such notice the court may, on its own motion
     or the motion of any party, adjust the payment
     schedule, or require immediate payment in full, as the
     interests of justice require.
Case 2:99-cr-00012   Document 1249      Filed 09/07/12     Page 2 of 2 PageID #: 5063



Section 3572 does not allow a court to reduce the amount of a

fine, only to modify the amount and schedule of the payments.

       Based upon the input of the Probation Office which

conducted an investigation into defendant’s financial situation,

defendant is to repay his fine in monthly installments of $40,

such payments to commence in September 2012.

     The Clerk is directed to send a copy of this Memorandum

Opinion and Order to counsel of defendant, the government, and

the Probation Office of this court.

           IT IS SO ORDERED this 7th day of September, 2012.

                                      ENTER:


                                     David A. Faber
                                     Senior United States District Judge




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